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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0024-TOR-1
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9          v.                                     MOTION TO MODIFY CONDITIONS
                                                   OF RELEASE
10    RHONDA FIRESTACK-HARVEY,

11                             Defendant.

12         BEFORE THE COURT is Defendant’s Motion to Modify Conditions of

13   Release (ECF No. 813). The motion was submitted for consideration without oral

14   argument. The Court has reviewed the motion and the entire file and is fully

15   informed.

16         Defendant requests to modify her current post-trial release conditions to

17   allow her to travel to Alaska between April 18 and May 1, 2016. In her motion,

18   Defendant notes that neither the government nor the probation office are opposed

19   to her proposed travel. Defendant has been allowed to travel on several occasions

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 1   during the pendency of this matter with no problems and has otherwise abided by

 2   all conditions of release. For good cause shown, the motion is granted.

 3         ACCORDINGLY, IT IS HEREBY ORDERED:

 4         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 813)

 5   is GRANTED.

 6         2. Defendant is permitted to travel to Alaska between April 18 and May 1,

 7   2016. Defendant shall notify her probation officer of her travel plans no less than

 8   24 hours before her departure and contact the United States Probation Office upon

 9   her return to either the Eastern or Western District of Washington.

10         3. All other terms and conditions of Defendant’s post-trial supervision

11   remain in effect.

12         The District Court Executive is hereby directed to enter this Order and

13   furnish copies to counsel and the United States Probation Office.

14         DATED March 10, 2016.

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16                                   THOMAS O. RICE
                              Chief United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
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